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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION
    

       SOLOMON RADNER,

                      Plaintiff,
                v.                             Case No. 17-12704
                                               Hon. Terrence G. Berg
       IAS WARRANTY, INC.,

                      Defendant.

            ORDER DENYING DEFENDANT’S MOTION TO
       DISMISS AS MOOT (Dkt. 7) AND DIRECTING PLAINTIFF
        EITHER TO WITHDRAW AS CLASS REPRESENTATIVE
            OR OBTAIN NEW COUNSEL WITHIN 21 DAYS
        I.   Introduction

        Attorney Solomon Radner (Plaintiff) brings this putative con-

   sumer class action against Defendant, IAS Warranty, Inc. (“IAS”),
   alleging that IAS operated a “widespread and intentionally decep-

   tive” campaign whereby Plaintiff and the Class were wrongfully

   and unfairly induced into purchasing IAS service plans for

   tire/wheel and repair and replacement. See Class Action Complaint,

   Dkt. 1-2, Pg. ID 18. Plaintiff seeks to serve as representative of the

   class.

        Defendant now moves to dismiss, and in that motion Defendant

   raises the ground that the class allegations “must be dismissed or

   stricken because [Solomon] Radner and Keith Altman, the attorney
                                      1
    
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   who signed the complaint, practice as attorneys together in one, and

   perhaps two, law firms.” See Motion to Dismiss First Amended

   Complaint, Dkt 7, Pg. ID 194; see also Supp. Brief, Dkt. 20. This is

   a key threshold question. Before considering the merits of the alle-

   gations, or the possible grounds for class certification, the Court

   must address whether Attorney Solomon Radner may properly

   serve as the named Plaintiff and class representative in this lawsuit

   while he is involved in law practices with Attorney Keith Altman,

   who is Mr. Radner’s named counsel in this same case.

        The Court attempted to answer this question by issuing a Show
   Cause Order (Dkt. 16) with questions to Messrs. Radner and Alt-

   man, but their answers further clouded the issue. Based on their

   answers and information available publicly, the Court finds that
   there are multiple legal-business relationships between named-

   plaintiff Mr. Radner and named-counsel Mr. Altman. These rela-

   tionships raise the appearance of a conflict of interest as to whether

   Mr. Radner may independently, fairly and adequately represent

   the interests of the class plaintiffs while at the same time being

   involved in law practice associations with Mr. Altman, who is lead
   counsel.

       To address this conflict, the Court will order Plaintiff to elect be-

   tween either continuing as class representative in this case with



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   different lead counsel, or to substitute another party as class repre-

   sentative while retaining Mr. Altman as lead counsel, within 21

   days. If no suitable alternative class representative, or if no new

   counsel is found for Plaintiff Radner within 21 days, the Court will

   dismiss the complaint without prejudice. In the meantime, Defend-

   ant’s Motion to Dismiss will be denied as moot; it may be re-filed if

   Plaintiff cures the deficiencies noted in this Order.

       II.   Background

       On November 19, 2013, Solomon Radner purchased a Lincoln

   MKZ from a car dealership in Troy, Michigan. See First Amended
   Complaint, Dkt. 5, Pg. ID 175. At the same time, Mr. Radner pur-

   chased a “Tire & Wheel Road Hazard Service Contract” from IAS

   that purported to reimburse him in the event of damage to his tires
   or wheels. See Motion to Dismiss First Amended Complaint, Dkt.

   7-2, Pg. ID 226. On September 20, 2014, Mr. Radner struck a pot-

   hole, causing damage to one wheel and tire. See First Amended

   Complaint, Dkt. 5, Pg. ID 175. Mr. Radner then had his wheel and

   tire replaced at a “Discount Tire” retail store for $450.50. Id. at Pg.

   ID 176. IAS then reimbursed Mr. Radner an amount it apparently
   calculated as “fair market value” for the new tire, a total of $360.40.

   Id.

       Mr. Radner alleges that the amount he was reimbursed is “sub-
   stantially less than the fair market value,” and argues that IAS’

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   reimbursement formula is necessarily certain to undercompensate

   holders of this service contract who attempt to replace their dam-

   aged wheels or tires. Id. at Pg. ID 176–77.

       In their Motion to Dismiss First Amended Complaint, IAS raised

   several issues, but most notably they stated that the class allega-

   tions “must be dismissed or stricken because [Solomon] Radner and

   Keith Altman, the attorney who signed the complaint, practice as

   attorneys together in one, and perhaps two, law firms.” See Motion

   to Dismiss First Amended Complaint, Dkt 7, Pg. ID 194; also Supp.

   Brief, Dkt. 20.
       A cursory examination of publicly available records concerning

   the affiliations of Plaintiff/Attorney Radner and Attorney Altman

   yielded confusing and inconsistent information as to the nature of
   the business relationship between them.

       First, Mr. Altman’s profile on the court’s Case Manage-

   ment/Electronic Case Filing system (CM/ECF) system lists him this

   way:

               Keith L. Altman
               Excolo Law Firm PLLC
               26700 Lahser Road
               Suite 401
               Southfield, MI 48033
               516-456-5885
               Fax: 951-303-1222
               Email: kaltman@lawampmmt.com


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   But Mr. Altman signed the First Amended Complaint and all other

   filings in this matter this way:

                  The Law Office of Keith Altman
                  Keith Altman (P81702)
                  18755 Alhambra Avenue
                  Lathrup Village, MI 48076
                  (516) 456-5885
                  kaltman@lawampmmt.com
       A google.com search for “The Law Office of Keith Altman” re-

   turned an office address for Mr. Altman in Temecula, California. A

   visit     to    the   website   for    that     office   listed    “kalt-

   man@lawampmmt.com” as the contact email—the same as pro-

   vided by Mr. Altman to this court—but no other contact infor-

   mation.

       Searches on the State Bar of Michigan’s website for “Law Office

   of Keith Altman” and “Law Firm of Keith Altman” yielded zero re-
   sults.

       Searches for “18755 Alhambra Avenue, Lathrup Village, MI

   48076” identified this address as a residential dwelling. However,

   the website www.avvo.com—an online directory of lawyers—

   showed that Mr. Altman had a profile listing his business address

   as “26700 Lahser Rd Ste. 401, Southfield, MI, 48033-2618.” This is

   the same address as the one listed for Excolo Law Firm.




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          The website for Excolo Law Firm (www.excololaw.com) lists only

   two people in the “Attorney Profiles” section: Solomon Radner and

   Keith Altman. Both profiles are titled as “Attorney/Lead Counsel.”

          A google search for “Solomon Radner” yields Excolo Law as the

   second result. The first result is a profile of Mr. Radner found on

   www.1800lawfirm.com, the website of “1-800-LAW-FIRM,” a “na-

   tional network of experienced bar-certified attorneys.” See

   https://www.1800lawfirm.com/ (last visited Sept. 7, 2018). In the

   section of this website titled “Our Team,” there are four people

   listed as attorneys: Ari Kresch (CEO, Attorney, Founder), Keith
   Altman (Attorney), Solomon Radner (Attorney), and Marshall Dis-

   ner (Attorney). See https://www.1800lawfirm.com/about-us/our-

   team/ (last visited Sept. 7, 2018).
          Excolo Law Firm and 1-800-LAW-FIRM overlap in several ways.

   From the publicly available records, it is clear that Mr. Radner and

   Mr. Altman are both associated with these two firms,1 and that the
   firms share the same street address. Both firms list the 26700 Lah-

   ser Road address as their location: Excolo Law Firm in Suite 401,

   and 1-800-LAW-FIRM presumably next door, in Suite 400. In an-
   other perplexing intersection between the Excolo Law Firm and 1-


                                                               
   1 While the entity 1-800-LAW-FIRM describes itself as a “national network of
   experienced bar-certified attorneys” its name suggests that it is, indeed, a law
   firm.
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   800-LAW-FIRM, both Messrs. Radner and Altman list another at-

   torney, Ari Kresch, as either a member, associate, or of counsel of

   Excolo Law Firm and as the sole member of 1-800-LAW-FIRM. Yet,

   for whatever reason, Mr. Kresch is not listed on the Excolo website

   as a member of that firm.

       Suffice to say, the publicly available information shows that

   Messrs. Radner and Altman practice together in at least two law

   firms. It could not be determined whether “The Law Office of Keith

   Altman” is a separate legal entity from Excolo Law Firm or 1-800-

   LAW-FIRM.
       In order to address the issue of a possible conflict of interest be-

   tween Mr. Radner and Mr. Altman in their roles as law partners

   and class representative/lead counsel, on August 21, 2018, the
   Court issued an Order to Show Cause ordering both Mr. Radner

   and Mr. Altman to file separate sworn affidavits answering several

   questions from the Court to clarify their relationship and whether

   Mr. Radner can properly serve as class representative. See Order to

   Show Cause, Dkt. 16. They showed cause by filing affidavits in re-

   sponse to the Court’s Order on August 28, 2018. See Dkts. 17 and
   18.

       The Court asked Messrs. Radner and Altman to answer five

   questions, separately, each in a sworn affidavit. The first question
   was:

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         1. Are you a member of the Excolo Law Firm, located at
            26700 Lahser Rd., in Southfield, Michigan, 48033?
            List any other members or associates of this law firm.

   To this question, Mr. Altman stated that he is “Of Counsel” to this
   firm, where Mr. Radner replied that he is a member of the firm. See

   Dkt. 17, Pg. ID 344; Dkt. 18, Pg. ID 350. Both listed Ari Kresch,

   Mindy Herman, Daniel Weininger, Rebeca Martinez Sicari, and

   Martin Radner as “associates,” “of-counsels,” or “members.” Mr.

   Radner stated that Ari Kresch is his partner in this firm.

       The second question posed was:
         2. Are you a member of “1-800-LAW-FIRM,” a “national
            network of experienced bar-certified attorneys” also
            located at 26700 Lahser Rd., Southfield, Michigan,
            48033. List any other members or associates of this
            law firm. See https://www.1800lawfirm.com/ (last
            visited Aug. 20, 2018).

       To this question, both Mr. Radner and Mr. Altman provided the

   same verbatim answer:

                Affiant’s Answer: I am not a member of 1 800 Law
               Firm PLLC, but I am of-counsel to that entity. This
               PLLC is a single member PLLC, with that single
               member being Ari Kresch. Further, so the court is
               fully advised, Excolo Law Firm PLCC has an as-
               sumed name of “1 800 Law Firm Civil Rights Divi-
               sion PLLC” which is a separate entity from 1 800
               Law Firm PLLC.”

   See Dkt. 17, Pg. ID 344; Dkt. 18, Pg. ID 350.

       The third question was:

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         3. List the location or locations of the physical offices for
            “The Law Office of Keith Altman.”

   In response, Messrs. Radner and Altman both stated: “30474 Fox

   Club Drive, Farmington Hills, MI 48331.” See Dkt. 17, Pg. ID 344;

   Dkt. 18, Pg. ID 351.

       The fourth question was:
         4. Explain how Mr. Altman’s representation of Mr. Rad-
            ner will be conducted so as to protect the interests of
            Mr. Radner as a class representative independently
            and separately from any interests Mr. Radner has as
            a result of his association with Mr. Altman in a law
            firm.

   To this question, Mr. Altman answered by providing a summary of

   his qualifications and competency to represent a class in this kind

   of action, but he did not address how he would protect the interests
   of the class itself against his and the proposed class representative’s

   separate interests in favor of their law firm. See Dkt. 17, Pg. ID

   345–46. Mr. Radner replied much more succinctly, but mostly to

   say that he does not practice in class action litigation very often,

   and that he will not be doing any legal work on this case. See Dkt.

   18, Pg. ID 351.

       The fifth and final question was:
         5. Explain how Mr. Radner can fairly and adequately
             represent the interests of the class of plaintiffs and
             not be influenced in any way by his association with
             Mr. Altman in a law firm.


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    Mr. Radner responded to this question by informing the court that

    he had discussed the case with several other attorneys before Mr.

    Altman agreed to take the case to court. See Dkt. 18, Pg. ID 351.

    Mr. Radner then restates his position that he is uniquely-situated

    such that “the facts of any random individual case may not support

    liability as strongly as the facts in my case.” Id. He also says that

    “it seems unfair to bar the 40,000 potential plaintiffs from recovery

    due to this one issue.” Id. The issue, however, is how to best ensure

    those putative 40,000 plaintiffs are represented fairly and ade-

    quately by both their counsel and their class representative.
        For his part, Mr. Altman responded at length to question five,

    restating allegations from the First Amended Complaint and stat-

    ing that Mr. Radner’s interests are aligned with the class because
    both benefit from protection of their rights. See Dkt. 17, Pg. ID 346–

    47. Mr. Altman further says, “The true question is whether I will

    influence Mr. Radner in a manner that favors him and me to the

    detriment of the class[,]” and “None of the activities to date or the

    expected activities have shown that Mr. Radner will not represent

    the class in a fair and adequate way.” See Dkt. 17, Pg. ID 347.
        But the issue of divided loyalty in a case such as this one arises

    most pointedly not in the beginning stages, but at the end. The

    clearest test of such potentially divided loyalty is when the class is
    presented a settlement offer which provides class members with a

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    suboptimal recovery while providing to the lawyer representing

    them a potential windfall. If the class representative personally

    stands to benefit—directly or indirectly—from that lawyer’s wind-

    fall, he or she may be less inclined to demand a higher offer, even

    though that would be in the best interests of the class—or may

    simply not be able to separate his or her law-firm-related interests

    from the interests of the class of plaintiffs when they diverge.

        Mr. Altman goes on to note “inherent checks and balances” in the

    class action process, including this Court’s determinations regard-

    ing liability and damages. See Dkt. 17, Pg. ID 348. Those issues
    cannot be addressed without the Court first address this prelimi-

    nary issue of an apparent conflict of interest.

        III. Analysis
        The Sixth Circuit has made it clear that a class counsel is pro-

    hibited from serving as class representative. See Turoff v. May Co.,

    531 F.2d 1357, 1360 (6th Cir. 1976). This prohibition is in place to

    address the “inherent conflict of interest” that arises when a person

    attempts to represent a class as both plaintiff and counsel, as such

    an attempt necessarily presents that person with a divided loyalty.
    Id. Because in most class actions the amount awarded in fees to the

    class action attorneys often dwarfs the amount any individual

    plaintiff recovers, the financial interests of class members and their



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    attorneys are not aligned well enough to ensure that the repre-

    sentative will fairly and adequately protect the interests of the

    class. See Susman v. Lincoln Am. Corp., 561 F.2d 86, 94 (7th Cir.

    1977) (“Because the financial recovery for reasonable attorney's

    fees would dwarf the individual's recovery as a member of the class

    herein, the financial interests of the named plaintiffs and of the

    class are not coextensive.”); see also Fed. R. Civ. P. 23(a)(4).

        The rule observed in Turoff is not limited to the very narrow sit-

    uation where the class representative is also acting as counsel in

    the litigation itself. The Seventh Circuit expanded the Turoff doc-
    trine, saying “esoteric internal protections preventing an attorney

    from sharing in fees awarded to his law firm do not dissipate the

    public's perception that plaintiff would in fact receive benefit from
    fees awarded to his law firm.” Susman v. Lincoln Am. Corp., 561

    F.2d 86, 95 (7th Cir. 1977) (internal quotation marks omitted). The

    Susman case dealt with a class representative who was the brother

    of the class counsel. In finding this relationship presented questions

    of a divided loyalty, the Seventh Circuit quoted the district judge,

    saying, “[e]ven though plaintiff does not expect to share in any at-
    torney's fees recovered in this cause, there exists the possibility that

    one so situated will become more interested in maximizing the ‘re-

    turn’ to his counsel than in aggressively presenting the proposed
    class’ action.” Susman, 561 F.2d at 95.

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        The Third Circuit goes even further, concluding that “vindica-

    tion of the Code of Professional Responsibility requires the follow-

    ing rule: no member of the bar either maintaining an employment

    relationship, including a partnership or professional corporation, or

    sharing office or suite space with an attorney class representative

    during the preparation or pendency of a Rule 23(b)(3) class action

    may serve as counsel to the class if the action might result in the

    creation of a fund from which an attorneys' fee award would be ap-

    propriate.” Kramer v. Sci. Control Corp., 534 F.2d 1085, 1093 (3d

    Cir. 1976).
        Here, the Court sought information from Mr. Radner and Mr.

    Altman to clarify their business relationship in order “to properly

    evaluate the merits of Defendant’s motion to dismiss and avoid any
    conflict of interest from clouding the propriety of these proceed-

    ings.” See Order to Show Cause, Dkt. 16.

        The Court in Question 1 therefore posed the question to Messrs.

    Radner and Altman, “Are you a member of the Excolo Law Firm,

    located at 26700 Lahser Rd., in Southfield, Michigan, 48033? List

    any other members or associates of this law firm.” To this question,
    Mr. Radner noted that he is a partner in that firm and then pro-

    vided a list of “associates, including of-counsels.” Dkt. 18 Pg. ID 350.

    Mr. Altman informed that he is “Of Counsel” to this law firm, and



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    he too listed “other members, associates, and of counsels” of that

    firm. Dkt. 17, Pg. ID 344.

        Yet in response to Question 2—worded identically to Question

    1—while each affiant acknowledged being “of-counsel” to“1-800-

    LAW-FIRM,” they provided no additional information in response

    to the portion of the question asking them to list “any other mem-

    bers or associates of this law firm.” See Affidavit of Keith Altman,

    Dkt. 17, Pg. ID 344; see also Affidavit of Solomon M. Radner, Dkt.

    18, Pg. ID 350. The incomplete nature of this answer makes it more

    difficult for the Court to assess the relationship between the Excolo
    Law Firm and “1-800-LAW-FIRM.” Messrs. Radner and Altman

    provided information concerning other attorneys associated with

    the Excolo Law Firm, but not with “1-800-LAW-FIRM.” Moreover,
    their answers to this question introduced a new complicating factor:

    that the Excolo Law Firm is also operating under the “assumed

    name” of “1 800 Law Firm Civil Rights Division PLLC.” For Excolo

    to operate under such a name certainly suggests that the Excolo

    Law Firm is acting as some sort of subsidiary business or “division”

    of 1-800-LAW-FIRM, especially considering the overlapping attor-
    neys that appear to be working at both firms.

        As to Question 3, seeking to know the address for the Law Offices

    of Keith Altman, without explanation Messrs. Radner and Altman
    provided an address different from the one Mr. Altman has been

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    attaching to his signature affixed to the pleadings in this case. A

    google search of this address again yielded what appears to be a

    residential dwelling, and no publicly-available records indicate that

    this address is the business location of a law firm called “The Law

    Office of Keith Altman.”2

           Both responses to Questions 4 and 5, which asked how the attor-

    neys could assure the Court there would be no conflict, their an-

    swers belied a misapprehension of the Court’s primary concern. The

    Court does not question whether Mr. Altman is qualified to be lead

    counsel for a class action lawsuit, or whether Mr. Radner is plan-
    ning on doing legal work on the case (although, as class representa-

    tive, he would be prohibited from doing so). Nor is this question

    concerned with the merits of this litigation or the fact that a puta-
    tive class of aggrieved persons deserves its day in court. The ques-

    tion is whether there is an appearance of a conflict of interest when

    the class representative has multiple legal business relationships

    with class counsel. The Court sought to know whether and how

    Messrs. Radner and Altman could reduce or eliminate the possibil-

    ity that Mr. Radner might be more interested in maximizing the

                                                                
    2 The Court is not suggesting that an attorney may not conduct a law practice
    from his or her home office. However, in light of the several confusing factors
    surrounding the interrelationships of Mr. Radner, Mr. Altman, Excolo Law
    Firm, 1-800-LAW-FIRM, 1-800-LAW-FIRM Civil Rights Division, and The
    Law Office of Keith Altman, the provision of a second residential address with
    no additional explanation adds little clarity to the situation.
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    return to his counsel and their law firms rather than in aggressively

    representing the proposed class’ best interest.

           Unfortunately neither affidavit provides the Court adequate as-

    surance that Mr. Radner’s interests and those of his counsel Mr.

    Altman—whether he is working under the Excolo Law Firm, 1-800-

    LAW-FIRM, or The Law Offices of Keith Altman—are not in poten-

    tial conflict.3 Nor does the Court find any explanation for how any
    financial recovery or award would be handled between the class

    representative and the class counsel such that the possible conflict

    of interest is addressed.

           Given their interlocking associations, Attorney Solomon Radner

    may not serve as the class representative while Attorney Keith Alt-

    man is class counsel. As Plaintiff has not alleged the existence of
    any other class member who may be able to step readily into the

    role of class representative, the Court will allow Plaintiff twenty-

    one (21) days to either identify a new class representative or a new

    class counsel. At the end of the twenty-one day period, if no individ-

    ual has been identified as class representative or class counsel, the

    Court will dismiss this complaint without prejudice, and Plaintiff
    may refile the complaint at some point in the future either with a

    different counsel or a different class representative. The Court will

    not allow any discovery at this time. If this case proceeds, Plaintiff
                                                                
    3   See, generally, Supp. Brief, Dkt. 20.
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    may pursue discovery at the appropriate time. The motion to dis-

    miss (Dkt. 7) will be denied as moot; it may be re-filed if Plaintiff

    cures the deficiencies noted in this Order.

          IV.   Conclusion

          For the foregoing reasons, Defendant’s Motion to Dismiss First

    Amended Complaint (Dkt. 7) is hereby DENIED as moot. Plaintiff

    Solomon Radner is hereby DIRECTED either to WITHDRAW as

    class representative (and substitute a new party as class repre-

    sentative who has no relationship to Attorney Altman), OR to OB-

    TAIN new counsel within 21 days of the date of this Order.


          SO ORDERED.



        Dated: September 12,      s/Terrence G. Berg
        2018                      TERRENCE G. BERG
                                  UNITED STATES DISTRICT JUDGE


                             Certificate of Service
             I hereby certify that this Order was electronically filed,
        and the parties and/or counsel of record were served on
        September 12, 2018.
                                  s/A. Chubb
                                  Case Manager




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